        Case 5:18-fj-00003-HE Document 22 Filed 01/31/19 Page 1 of 3



        IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF OKLAHOMA


MARVIN KENT POWELL and       )
SHAWNA POWELL,               )
                             )
          Plaintiffs,        )
                             )
v.                           )             Case No. 18-FJ-3-HE
                             )
WILBANKS SECURITIES, INC., )
an Oklahoma corporation, and )
AARON BRONELLE WILBANKS, )
individually,                )
                             )
          Defendants.        )


               ORDER TO APPEAR AND ANSWER
             AS TO ASSETS, AND FORBIDDING THE
        TRANSFER OR OTHER DISPOSITION OF PROPERTY


TO: WILBANKS SECURITIES, INC.
    c/o Aaron Bronelle Wilbanks, Officer/Owner
    6409 Beaver Creek Road
    Oklahoma City, OK 73162


     YOU ARE HEREBY ORDERED to appear in person and answer

concerning your property on Tuesday, February 19, 2019, at 9:00 a.m.,

before U.S. Magistrate Judge Suzanne Mitchell in Courtroom #102, at the

William J. Holloway, Jr. United States Courthouse, 200 N.W. 4th Street,

Oklahoma City, Oklahoma 73102. YOU ARE FURTHER ORDERED to

bring with you to the hearing the following documents and information:
          Case 5:18-fj-00003-HE Document 22 Filed 01/31/19 Page 2 of 3



     1.      Record of all incomes for the one year preceding the date this order
             was served upon you;

     2.      Statements of any and all bank and financial accounts owned by
             you for six months preceding the date this order was served upon
             you;

     3.      Corporate income tax returns for the past two years;

     4.      All financial statements presented to any banks or lending
             institutions for the past two years;

     5.      Legal descriptions of all real estate owned, leased, or possessed
             within the past five years, including any sale or transfer
             documents of any such real estate;

     6.      Accounting books for the last two years;

     7.      Safe deposit box information;

     8.      Records of any and all other property you own or which is held in
             trust for you by anyone else.

     9.      Records of any and all other debts, receivables, loans, or notes
             owed to you.

     10.     Business registration records, including filings with the Oklahoma
             Secretary of State, and any documents regarding dissolution,
             winding down, or business closure.

     In accordance with 12 OKLA. STAT. §§ 842 and 852 you are ordered

not to pay out, alienate, conceal, transfer, mortgage, encumber, or

make any other disposition of any money or property, not exempt by

law, except in the ordinary course of business, pending this hearing

and the further order of this court.



                                        2
        Case 5:18-fj-00003-HE Document 22 Filed 01/31/19 Page 3 of 3



     Your failure to appear as ordered may result in a warrant being

issued for your arrest for indirect contempt of court. You are further

directed to bring all of the documents listed above or your failure to

do so could lead to further sanctions.

     Bring this order to court with you.

     Ordered this 31st day of January, 2019.




                                      3
